      Case: 1:17-cv-01659 Document #: 118 Filed: 06/10/19 Page 1 of 2 PageID #:666



042184/19344/MHW/REN

                         UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

BOB A. BRINSON,

                      Plaintiff,

v.

WEXFORD HEALTH SOURCES, INC.,                      Case Number 17-cv-1659
JOHN TROST, GHALIAH OBAISI, as
                                                   Hon. Judge John Z. Lee
Independent Executor of the Estate of SALEH
OBAISI, RANDY PFISTER, and JEFF
HUTCHINSON,

                      Defendants.

                            NOTICE OF UNOPPOSED MOTION

To:     All Attorneys of Record

       PLEASE TAKE NOTICE that on June 18, 2019, at 9:00 a.m., or as soon thereafter as
counsel may be heard, we shall appear before the Honorable John Z. Lee, Room 1225, Judge of
the U.S. District Court of Illinois, 219 S. Dearborn Street, Chicago, Illinois, and shall then and
there present Defendants’ Unopposed Motion for Extension of Summary Judgment Briefing
Schedule, a copy of which has been served upon you.

                                              Respectfully submitted,

                                              CASSIDAY SCHADE LLP

                                              By: /s/Ronald E. Neroda
                                                 One of the Attorneys for Defendants
                                                 WEXFORD HEALTH SOURCES, INC.,
                                                 GHALIAH OBAISI, as Independent Executor of
                                                 the Estate of SALEH OBAISI, M.D., Deceased,
                                                 and JOHN TROST, M.D.
Matthew H. Weller | 6278685
Ronald E. Neroda | 6297286
CASSIDAY SCHADE LLP
222 West Adams Street, Suite 2900
Chicago, IL 60606
(312) 641-3100 | (312) 444-1669 (Fax)
mweller@cassiday.com
rneroda@cassiday.com
     Case: 1:17-cv-01659 Document #: 118 Filed: 06/10/19 Page 2 of 2 PageID #:667




                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 10, 2019, I electronically filed the foregoing document with

the clerk of the court for the Northern District of Illinois using the electronic case filing system

of the court. The electronic case filing system sent a “Notice of E-Filing” to the attorneys of

record in this case.


Dated: June 10, 2019                                                       By: /s/Ronald E. Neroda

9178471




                                                  2
